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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA



RODNEY LAIL, et al.,                          :
                                              :
                 Plaintiffs,                  :
                                              :
       v.                                     : Civil Action No.: 10-0210 (PLF)
                                              :
THE UNITED STATES                             :
GOVERNMENT, et al.,                           :
                                              :
                 Defendants.                  :

     DEFENDANT THE ACADEMY GROUP INC.’S, REPLY TO PLAINTIFFS’
  OPPOSITION TO MOTION TO DISMISS/MOTION FOR SUMMARY JUDGMENT

       In support of its Motion to Dismiss, or in the alternative, Motion for Summary Judgment,

and in Reply to Plaintiffs' Opposition to same, Defendant Academy Group, Inc. (“AGI”), asserts

the following:

       A.        Plaintiffs’ Opposition Fails to Address Any of the Legal
                 Arguments in AGI’s Motion.

       Plaintiffs' Opposition offers no rebuttal to AGI’s legal arguments and instead argues that

Plaintiffs are entitled to their day in court. (Opposition Memo. pg. 3) Plaintiffs fail to address

how the Second Amended Complaint sufficently sets out facts establishing vicarious liability.

Plaintiffs fail to address why they are entitled to relief against a private entity for claimed

deprivation of constitutional rights. Plaintiffs have also failed to allege any additional facts

which support their conclusion that a respondeat superior relationship existed between AGI and

Noel Herold. Accordingly, AGI is entitled to relief and all counts against AGI should be

dismissed with prejudice.
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       B.      Plaintiffs Have Failed to Allege Facts Supporting a
               Claim for Vicarious Liability.

       Plaintiffs assert claims against AGI on a theory of vicarious liability. (Count VIII).

Plaintiffs conclude that Noel Herold acted “with the Academy Group” and “in the scope and

course of his work for the Academy Group”. (Compl. ¶ 286). Plaintiffs fail to allege any facts to

support these legal conclusions. In contradiction to Plaintiffs’ contention, Plaintiffs specifically

allege “at all material times Noel Herold was an independent contractor working for the FBI”

and the “FBI controlled the detailed physical performance of Noel Herold and exercised

substantial supervision over day-to-day activities of Noel Herold…” (Compl. ¶ 241)(emphasis

added). Plaintiffs also allege the U. S. Government compensated Herold for his services as an

expert witness. (Compl. ¶ 122).

       The Second Amended Complaint is completely devoid of any facts supporting Plaintiffs’

vicarious liability claim against AGI. Plaintiffs do not allege Noel Herold was employed by

AGI. Plaintiffs do not allege Noel Herold served as the defendants’ expert witness in the

underlying matters through AGI. Plaintiffs do not allege how, when, or are in what capacity

AGI was involved in the underlying matters in any way, shape or form. In fact, Plaintiffs make

factual allegations that directly conflict with Plaintiffs’ conclusion that a respondeat superior

relationship existed between AGI and Herold.

       Conclusory allegations or legal conclusions masquerading as factual allegations will not

survive a motion to dismiss. Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir. 2004);

Bender v. Suburban Hosp., Inc., 159 F.3d 186, 192 (4th Cir. 1998). Plaintiffs have failed to

allege facts sufficient to raise the right of relief above the speculative level that a respondeat

superior relationship between AGI and Noel Herold. Accordingly, all counts against AGI

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should be dismissed with prejudice.



          C.     Noel Herold Did Not Perform Any Professional Services For, Through, or In
                 Connection with AGI at Any Time Relevant to This Matter.


          Plaintiffs’ claims against AGI are based entirely on Plaintiffs’ Attachment to Exhibit One

to Plaintiffs’ Opposition, seven lines allegedly taken from Noel Herold’s deposition transcript.

Plaintiffs do not attach the deposition transcript or even a portion thereof. Plaintiffs do not

provide the previous or subsequent text from the alleged excerpts. Plaintiffs do not provide any

context whatsoever as to the alleged statements of Noel Herold. Yet, Plaintiffs contend that

these seven lines, indicating only some unspecified affiliation between Herold and AGI, some

how establish a respondeat superior relationship in regard to Herold's specific acts related to this

matter.

          Plaintiffs’ Opposition asserts additional facts which support the position that no

respondeat superior relationship existed between AGI and Noel Herold by referring to filings in

the current proceedings by the United States Attorney claiming Noel Herold was a direct

employee of the United States Government during all relevant times to this matter. (Opposition

Memo. pg. 2). Plaintiffs do not allege or refer to any evidence that Noel Herold was employed

by AGI. According to Plaintiffs, Noel Herold allegedly testified he was affiliated with AGI,

although Plaintiffs do not provide when or how the defendants were affiliated or in what context

Herold allegedly made this statement. (Opposition Memo. pg. 2). In viewing the allegations and

evidence in light most favorable to Plaintiffs, even if Herold was affiliated with AGI in some

capacity, this does not support Plaintiffs’ conclusion that an employee-employer relationship

existed, or even if it existed at sometime, that it was related in any way to Herold's alleged acts in



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this matter.

        Pursuant to a diligent search for records, AGI has found no evidence which connects AGI

to Herold, or any of the parties or allegations contained in Plaintiffs’ Complaint. (See Affidavit

attached to AGI’s Motion to Dismiss as Exhibit A). Plaintiffs fail to allege any facts which

support Plaintiffs’ conclusion that AGI employed Noel Herold at anytime relevant to the

Complaint. Accordingly, all counts against AGI should be dismissed with prejudice.



        D.       Plaintiffs Cannot Maintain an Action for Deprivation of Constitutional
                 Rights Against Private Entities.


    Plaintiffs fail to explain how or why they are entitled to relief against a private entity for

alleged deprivation of constitutional rights.         In order to state a claim under 42 U.S.C. § 1983

plaintiff must allege violation of a right secured by the Constitution and laws of the United States

by someone acting under the color of state law. 1 Plaintiffs have failed to identify any state law,

regulation or ordinance under which AGI or Noel Herold acted. Accordingly, Count VIII of the

Second Amended Complaint should be dismissed with prejudice.




1
 W. v. Atkins, 487 U.S. 42, 48, 108 S. Ct. 2250, 2255, 101 L. Ed. 2d 40 (U.S.N.C. 1988) citing Parratt v. Taylor,
451 U.S. 527, 535, 101 S.Ct. 1908, 1913, 68 L.Ed.2d 420 (1981); Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 155, 98
S.Ct. 1729, 1733, 56 L.Ed.2d 185 (1978).


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                                              Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing Defendant The Academy Group Inc.’s, Reply
To Plaintiffs’ Opposition To Motion To Dismiss/Motion For Summary Judgment was
electronically filed and mailed via U.S. Mail, postage prepaid, on this 12th day of October, 2010,
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